                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                      AT CHATTANOOGA

UNITED STATES OF AMERICA,                           )
                                                    )
               Plaintiff,                           )
                                                    )
v.                                                  )              Case No. 1:13-cr-128-HSM-SKL
                                                    )
JOHNNY CALDWELL, JR.,                               )
                                                    )
               Defendant.                           )

                                 REPORT & RECOMMENDATION

        Before the Court is a motion to suppress and memorandum filed by Defendant Johnny

Caldwell, Jr. (“Defendant”) [Docs. 123 & 124], in which Defendant seeks to suppress telephone

conversations recorded pursuant to a state-authorized wiretap.       In summary, Defendant alleges

suppression is required because the state court order authorizing the wiretap was not properly

issued or sufficiently specific under Tennessee law.        Plaintiff United States of America (“the

government”) has filed a response in opposition [Doc. 141], and a supplement containing the

affidavit supporting issuance of the wiretap and the state court order authorizing the wiretap

[Docs. 145 & 145-1].        Defendant has filed a reply brief [Doc. 152] clarifying certain arguments,

and, with leave of Court, the government has filed a response to the reply [Doc. 162].            The

motion to suppress is now ripe.              After considering the evidence and arguments, I

RECOMMEND that Defendant’s motion to suppress be DENIED.1



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  Several pretrial motions, including this motion to suppress, were referred for a report and
recommendation pursuant to 28 U.S.C. § 636(b) [Doc. 133]. Defendant has not requested, and is
not entitled to, an evidentiary hearing on this motion, as the Court must make a determination of
the issues raised by evaluating the information contained within the four corners of the affidavit
supporting the wiretap and the wiretap authorization order. See, e.g., United States v. Allen, 211
F.3d 970, 975 (6th Cir. 2000) (“The affidavit is judged on the adequacy of what it does contain, not
on what it lacks, or on what a critic might say should have been added.”).


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I.       BACKGROUND

         The issue at hand centers on a wiretap authorization order issued by Judge Rebecca Stern, a

Tennessee state court judge. The wiretap involved a telephone that belonged to a codefendant in

this case, Lajeromeny Brown.          Telephone conversations, in which Defendant allegedly

participated, were recorded by law enforcement.

II.      ANALYSIS

         In his motion, Defendant makes two arguments in support of suppression of the wiretap

evidence. First, Defendant argues that the affidavit in this case does not support the probable

cause determination that the quantities of cocaine involved reached the 300-gram level provided in

Tenn. Code Ann. §§ 39-17-417(j)(5), 40-6-305. Second, Defendant argues that the wiretap

authorization order and supporting affidavit do not sufficiently identify the covered time period,

rendering the wiretap void. In his reply brief, Defendant made a third argument that the affidavit

contains only conclusory provisions regarding the exhaustion of alternatives to a wiretap, and thus

the affidavit does not comply with statutory requirements. Defendant’s arguments are addressed

in turn below.

         A.      Probable Cause Determination

         As noted, Defendant argues the affidavit submitted to the state court judge to obtain the

wiretap did not support a determination that 300 grams or more of a substance containing cocaine

was involved, and thus the wiretap was improper under state law. The government counters that

Defendant’s motion fails because it does not allege any violation of federal law and, in the

alternative, because the wiretap actually does comply with Tennessee law.

         Defendant’s motion discusses only Tennessee state law, and he does not address the impact

of federal law, specifically Title III of the Omnibus Crime Control and Safe Streets Act of 1968, 18




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U.S.C. §§ 2510-2520, on the admissibility of wiretap evidence in this case.2 This Court has

previously held that “federal law, not state law, controls the admissibility of evidence received as

the result of the state-authorized wiretaps in this federal court action.” United States v. Kelley,

596 F. Supp. 2d 1132, 1141 (E.D. Tenn. 2009) (citing United States v. Johnson, No. 1:06-CR-31,

2007 WL 2220409, *1 (E.D. Tenn. July 27, 2007)), aff’d, 459 F. App’x 527 (6th Cir. 2012).

          The United States Court of Appeals for the Sixth Circuit (the “Sixth Circuit”) has also

recognized that while “federal law, not state law, governs the admissibility of evidence in federal

court,” “Title III itself appears to require compliance with state law provisions in at least some

wiretap situations.” United States v. Johnson, No. 08-5911, 2010 WL 3736881, at *2 (6th Cir.

Sept. 17, 2010) (citations omitted). The Sixth Circuit noted that Title III specifically discusses

procedure for wiretaps authorized by a state court judge where the prosecuting attorney applies to

a state court judge for a wiretap authorization “in conformity with section 2158 of this chapter and

with the applicable State statute . . . .” Id. (quoting 18 U.S.C. § 2516(2)). In Johnson, the Sixth

Circuit applied Tennessee law to determine whether wiretapping in connection with

cocaine-related crimes involving fewer than 300 grams was proper. Id. at *3 (finding that the

wiretap was proper under Tennessee law, without reaching the instant issue).

          In this matter, it is undisputed that the wiretap was obtained from a Tennessee state court

judge under a state statute that sets out Tennessee law regarding court orders that authorize “the

inception of a wire, oral or electronic communication.” Tenn. Code Ann. § 40-6-304. Under

this state statute, a judge may authorize a wiretap where “[t]here is probable cause for belief that an

individual is committing, has committed, or is about to commit a particular offense enumerated in

§ 40-6-305.” Tenn. Code Ann. § 40-6-304(c)(1). A “judge may grant, in conformity with



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    Defendant does briefly discuss the applicability of federal law in his reply brief.


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§ 40-6-304, an order authorizing the interception of wire, oral, or electronic communications by

investigative or law enforcement officers . . . when interception may provide evidence of” certain

enumerated offenses. Tenn. Code Ann. § 40-6-305. One of the enumerated offenses involves

the manufacture, distribution, possession, or conspiracy to manufacture, distribute, or possess

certain amounts of a controlled substance, specifically 300 grams or more of any substance

containing cocaine. Tenn. Code. Ann. § 39-17-417(j)(5).

       The Tennessee Court of Criminal Appeals, in reviewing whether a wiretap affidavit

“contain[s] information sufficient to support [the judge’s] finding of probable cause that the targets

were committing, had committed, or were about to commit a crime . . . [involving] the

manufacture, delivery, sale, or possession of 300 grams or more of cocaine,” accords “great

deference to the determination of the issuing judge.” State v. Moore, 309 S.W.3d 512, 523 (Tenn.

Crim. App. 2009) (citations omitted) (internal quotation marks omitted). The Tennessee Court of

Criminal Appeals has found wiretap authorizations to be proper when based on affidavits which

“provided the issuing judge with a substantial basis from which to conclude that the wiretap

investigation would reveal evidence of an ongoing conspiracy to traffick large amounts of cocaine

and the identity of the co-conspirators.” Elliot v. State, No. M2012-01266-CCA-R3-PC, 2013

WL 6188585, at *8-9 (Tenn. Crim. App. Nov. 26, 2013) (finding that the affidavit, which outlined

the quantities of cocaine purchased in undercover buys and which stated the affiant’s estimation of

the quantity of cocaine the wiretap target had access to based on the affiant’s experience, provided

a substantial basis for the judge to issue the wiretap).

       The government argues that a wiretap is proper when interception may provide evidence of

the enumerated crimes in the statute [Doc. 141 at Page ID # 336-37]. Based on the language of

the Tennessee statute, as well as case law, I agree that the determinative factor here is not whether




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the investigation concerns a crime that actually involves 300 or more grams of cocaine, but rather

whether the affidavit provides probable cause to believe that such a crime involving the trafficking

of large amounts of cocaine has occurred, is occurring, or will occur. See Tenn. Code Ann.

§§ 40-6-304, 40-6-305; Elliot, 2013 WL 6188585 at *8-9. Thus, the Court must review the

affidavit, while according great deference to the issuing judge, to determine whether the wiretap

authorization was proper.

       In the instant matter, the affiant provides information about controlled purchases of

cocaine made by a confidential source. Specifically, the affidavit includes information about a

purchase made on April 4, 2013, in which the confidential source purchased 40 grams of crack

cocaine from the target of the wiretap [Doc. 145 at Page ID # 379-80]. The affidavit also includes

information about a confidential source purchasing 26 grams of crack cocaine from the wiretap

target on May 6, 2013 [Id. at Page ID # 380-82]. The affidavit includes information about a

controlled purchase of one ounce of powder cocaine on June 5, 2013, by a confidential source [Id.

at Page ID # 382-85]. The affidavit includes telephone conversations from June 18, 2013 and

July 1-2, 2013, recorded under a different wiretap authorization, which include discussions about

the distribution and manufacture of cocaine, in both powder and crack form [Id. at Page ID #

386-89]. In the affidavit, the affiant states, “This investigation has documented well in excess of

300 grams of cocaine in historical interviews and undercover operations that have been linked

directly to” the target of the wiretap [Id. at Page ID # 394].

       Based on the totality of the evidence presented on the affidavit’s face, and the required due

deference to the issuing judge, I FIND that the affidavit provided a substantial basis from which to

conclude that the wiretap investigation would result in evidence of an ongoing conspiracy

involving large amounts of cocaine, and the wiretap was in compliance with Tennessee state law.




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Thus, it is not necessary to address whether state law compliance is even necessary in this wiretap

situation. Therefore, I RECOMMEND that the Court DENY Defendant’s motion to suppress

with respect to his allegations that the affidavit was insufficient to establish probable cause to

authorize the wiretap.

       B.      Time Period Covered by Wiretap Authorization

       Defendant also argues that the wiretap authorization order is improper because it does not

sufficiently specify the dates of interception. The government represents this issue is now moot

because the government has provided Defendant with the requested reports. Defendant has

agreed that the government has provided the reports, but he argues in his reply that the time period

covered by the wiretap authorization remains an issue. Specifically, Defendant finds fault with

the beginning date of the authorized 30-day wiretap period being left to the officers’ discretion.

In the government’s response to Defendant’s reply, the government notes that Defendant has not

provided any authority in support of his opinion that the window of time within which interception

could begin was improper. In the alternative, the government argues that, even if there were a

technical violation in the affidavit, suppression would not be appropriate because there have been

no allegations of deliberate police misconduct to justify rendering the evidence inadmissible.

       Local Rule 7.1(b) requires all briefs to include “a concise statement of the factual and legal

grounds which justify the ruling sought by the Court.” E.D. Tenn. L.R. 7.1(b); see also Fed. R.

Civ. P. 7(b) (requiring motions to “state with particularity the grounds for seeking the order”).

Arguments not raised and supported in more than a perfunctory manner are deemed waived.

McPherson v. Kelsey, 125 F.3d 989, 995-96 (6th Cir. 1997) (noting that conclusory claims of error

without further argument or authority are considered waived). Defendant does not provide any

legal grounds, argument, or citation to any authority, case, or rule in support of this claim of error,




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despite being permitted to file a reply after the deadline had passed in order to do so. Therefore,

the portion of his argument that claims the time period is impermissibly vague is DEEMED

waived.

       Even if Defendant’s argument with respect to the specificity of the time period was not

deemed waived, this argument would fail on its merits. The wiretap authorization provides that

“[t]he interception of the aforesaid communications is authorized for a period of thirty (30) days

from the day on which the investigative or law enforcement officers first begin to conduct the

interceptions pursuant to this Order, or ten days from the date on which the Order is entered,

whichever occurs first . . . .” [Doc. 145-1 at Page ID # 402]. Defendant argues that “it is

impossible to determine from reviewing the affidavit and the Court order the time period covered

by the wiretap authorization” and further argues that the “uncertainty in the operative period of the

order gives excessive discretion to law enforcement and renders the order void . . . .” [Doc. 124 at

Page ID # 265-66]. Defendant contends that the wiretap authorization impermissibly leaves the

beginning date of interception to the officers’ discretion within the ten day range, but he does not

explain why such discretion is improper. [Doc. 152 at Page ID # 428]. The government

responds that the period of interception was within the authorized 30-day range. [Doc. 162 at

Page ID # 483].

       Under Tennessee law “[t]he thirty-day period begins on the earlier of the day on which the

investigative or law enforcement officer first begins to conduct an interception under the order or

ten (10) days after the order is entered.” Tenn. Code Ann. § 40-6-304(e). See also State v.

Boatfield, No. E2000-01500-CCA-R3-CD, 2001 WL 1635447, at *12 (Tenn. Crim. App. Dec. 20,

2001) (“The 30-day period begins on the date law enforcement initiates interception or ten days

after the order is issued, whichever is earlier.”).      The language of Judge Stern’s wiretap




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authorization in this case is a nearly verbatim recitation of Tennessee law, and wiretaps with the

same time period language consistently have been found proper. See Boatfield, 2001 WL

1635447, at *12; Elliot v. State, No. M2012-01266-CCA-R3-PC, 2013 WL 6188585, at *7 (Tenn.

Crim. App. Nov. 26, 2013) (approving a wiretap authorization including the same time period

language and discussing generally Tenn. Code Ann. § 40-6-304(e)); State v. Moore, 309 S.W.3d

512, 523 (Tenn. Crim. App. 2009). Thus, Defendant’s argument also fails on the merits.

        I therefore RECOMMEND that the Court DENY Defendant’s motion to suppress with

respect to his allegations that the authorized time period for interception was insufficiently

specific.

        C.     Exhaustion of Wiretap Alternatives

        Defendant’s final argument is that the government’s affidavit did not sufficiently

demonstrate that it had exhausted alternatives to a wiretap, and thus there was no showing of

necessity for the wiretap. Defendant argues that the affidavit’s references to the target living on a

dead-end road and not knowing where the target stored the drugs and money are common and

insufficient to comply with the exhaustion requirement. Defendant cites to a single case in

support of his argument that compliance with the exhaustion statute is not met by a “purely

conclusory affidavit unrelated to the instant case and not showing any factual relations to the

circumstances at hand.” [Doc. 152 at Page ID # 428 (quoting State v. Moore, 309 S.W.3d 512,

526 (Tenn. Crim. App. 2009))].

        In response, the government argues the affidavit demonstrated the necessity of the wiretap,

as it shows that surveillance, confidential informants, and telephone information were used prior to

seeking the wiretap, and the affidavit further explains why other methods of investigation would

not be effective in this case. The government argues that officers are not required to exhaust all




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possible methods of investigation prior to seeking a wiretap, but rather are required to show that

the wiretap is not being “routinely employed as the initial step in criminal investigation.” [Doc.

162 at Page ID # 483 (quoting United States v. Giordano, 416 U.S. 505, 515 (1974))].

          The Sixth Circuit has held “[t]he basic standards for a wiretap are similar to those for a

search warrant, but there also must be strict compliance with Title III of the Omnibus Crime

Control and Safe Streets Act of 1968, 18 U.S.C. §§ 2510-2520.” United States v. Alfano, 838

F.2d 158, 161 (6th Cir. 1988). Title III “was enacted for the purpose of regularizing and

controlling the issuance of warrants for wiretaps.” Id. at 161. In pertinent part, Title III

“requires a determination that other means of obtaining information, such as physical surveillance,

use of informants, and other investigative techniques, would be unsuccessful.” Id. at 163 (citing

18 U.S.C. § 2518(1)(c)). This requirement “is referred to as the ‘necessity requirement.’”

United States v. Rice, 478 F.3d 704, 710 (6th Cir. 2007) (quoting United States v. Stewart, 306

F.3d 295, 304 (6th Cir. 2002)). “The needs statement provision was placed in the statute to ensure

that a wiretap ‘is not resorted to in situations where traditional investigative techniques would

suffice to expose the crime.’” Alfano, 838 F.2d at 163 (quoting United States v. Kahn, 415 U.S.

143, 153 n.12 (1974)). “Thus, wiretaps are not to be used thoughtlessly or in a dragnet fashion . .

. . [W]hat is needed is to show that wiretaps are not being ‘routinely employed as the initial step in

criminal investigation.’” Id. (quoting United States v. Landmesser, 553 F.2d 17, 20 (6th Cir.

1977)).

          The necessity requirement also “protects against the impermissible use of a wiretap as the

‘initial step in [a] criminal investigation.’” Rice, 478 F.3d at 710 (quoting Giordano, 416 U.S. at

515). There is no requirement, however, that the “government . . . prove that every other

conceivable method has been tried and failed or that all avenues of investigation have been




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exhausted.” Alfano, 838 F.2d at 163 (citing United States v. Brown, 761 F.2d 1272, 1275 (9th Cir.

1985)). Rather, as the Sixth Circuit has stated:

               All that is required is that the investigators give serious
               consideration to the non-wiretap techniques prior to applying for
               wiretap authority and that the court be informed of the reasons for
               the investigators’ belief that such non-wiretap techniques have been
               or will likely be inadequate. While the prior experience of
               investigative officers is indeed relevant in determining whether other
               investigative procedures are unlikely to succeed if tried, a purely
               conclusory affidavit unrelated to the instant case and not showing
               any factual relations to the circumstances at hand would be . . .
               inadequate compliance with the statute.

Rice, 478 F.3d at 710 (citations omitted). The Sixth Circuit has held the “necessity requirement”

in Title III “do[es] not require proof of the absolute impossibility of all other means. Instead, a

reasonable statement of the consideration or use of other investigative means is adequate . . . .”

Alfano, 838 F.2d at 164.

       “Because the necessity requirement is a component of Title III, and because suppression is

the appropriate remedy for a violation under Title III, where a warrant application does not meet

the necessity requirement, the fruits of any evidence obtained through that warrant must be

suppressed.” Rice, 478 F.3d at 710. However, “a wiretap authorization order is presumed

proper, and a defendant carries the burden of overcoming this presumption.” United States v.

Quintana, 70 F.3d 1167, 1169 (10th Cir. 1995). See also United States v. Feldman, 606 F.2d 673,

679 n.11 (6th Cir. 1979) (“It is well settled that in seeking suppression of evidence the burden of

proof is upon the defendant to display a violation of some constitutional or statutory right

justifying suppression.”).

       Contrary to Defendant’s argument, sufficient information is set forth in the affidavit to

comply with the necessity requirement. Defendant has not met his burden to overcome the

presumption that the wiretap authorization signed by Judge Stern is proper. As the affidavit



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shows, the investigators gave serious consideration to other investigative techniques before

applying for the wiretap. The affiant informed Judge Stern of his belief that non-wiretap

techniques, such as the use of undercover officers, grand jury questioning and administrative

subpoenas, search warrants, trash pulls, and traffic stops, would not be reasonably likely to

succeed [Doc. 145 at Page ID # 393-97].         Further the affiant explained that non-wiretap

investigative methods, including physical surveillance, the use of confidential informants, and

analysis of telephone records and pen registers had already been used by investigators, but had

produced inadequate results [Id.].

       I FIND the affidavit sufficiently established the necessity of a wiretap, as the reasonable

non-wiretap investigative techniques were inadequate, and other techniques were not reasonably

likely to succeed. I therefore RECOMMEND that the Court DENY Defendant’s motion to

suppress with respect to his argument that the affidavit did not sufficiently establish that

non-wiretap alternative methods of investigation had been exhausted.

III.   CONCLUSION

       After having considered all evidence and argument, and for the reasons stated above, I

RECOMMEND3 that Defendant’s motion to suppress [Doc. 123] be DENIED.

                                            s/fâátÇ ^A _xx
                                            SUSAN K. LEE
                                            UNITED STATES MAGISTRATE JUDGE



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  Any objections to this report and recommendation must be served and filed within 14 days after
service of a copy of this recommended disposition on the objecting party. Such objections must
conform to the requirements of Rule 59(b) of the Federal Rules of Criminal Procedure. Failure to
file objections within the time specified waives the right to appeal the district court’s order.
Thomas v. Arn, 474 U.S. 140, 149 n.7 (1985). The district court need not provide de novo review
where objections to this report and recommendation are frivolous, conclusive, or general. Mira v.
Marshall, 806 F.2d 636, 637 (6th Cir. 1986). Only specific objections are reserved for appellate
review. Smith v. Detroit Fed’n of Teachers, 829 F.2d 1370, 1373 (6th Cir. 1987).


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